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                                                                 November 4, 2020

  Hon. J. Paul Oetken
  United States District Judge
  Thurgood Marshall United States Courthouse
  40 Centre Street
  New York, NY 10007

          Re:    United States v. David Garcia
                 18 Cr. 669 (JPO)

  Dear Judge Oetken:

         Peter Quijano and I are counsel for David Garcia, who is detained at the Metropolitan
  Correction Center pending sentence. We respectfully request that Mr. Garcia’s sentencing
  hearing, currently scheduled for December 17, 2020, be adjourned for approximately ninety
  days.

        Due to COVID-19 protocols, the defense needs additional time to prepare a sentencing
  submission. The statutory minimum term of imprisonment for Mr. Garcia is five years.

         No prior requests have been made to adjourn the sentencing. Assistant United States
  Attorneys Jacob Warren informs us that the Government has no objection to this request.


Granted. The sentencing hearing as to             Sincerely,
Defendant David Garcia, previously scheduled
for December 17, 2020, is hereby adjourned to     /s/
Thursday, March 18, 2021, at 12:00 p.m.
   So ordered.                                    Donald J. Yannella, Esq.
   November 4, 2020
